Case 4:20-cv-00145 Document 48-4 Filed on 06/21/22 in TXSD Page 1 of 12




            EXHIBIT 4
     Case 4:20-cv-00145  Document 48-4 Filed on 06/21/22 in TXSD Page 2 of 12 Page 5
                     Margaret Brown May 11, 2022 NDT Assgn # 57297

1                   REMOTE DEPOSITION BY VIDEOCONFERENCE

2                           MARGARET WALLACE BROWN

3                                    TAKEN ON

4                           WEDNESDAY, MAY 11, 2022

5                                   10:30 A.M.

6

7               THE COURT REPORTER:     And then I'd also like to

8 stipulate for the record that the remote affirmation and remote

9 testimony will be administered and recorded by myself, a

10 professional digital recorder, and that all present agree.

11              The testimony will be transcribed and certified.           Ms.

12 Matias, on behalf Pacific Legal do you agree?

13              MS. MATIAS:    Yes, I agree.

14              THE COURT REPORTER:     All right.    And then Mr. Amis,

15 on behalf of the City of Houston, do you agree?

16              MR. AMIS:    Yes.

17              THE COURT REPORTER:     Okay.    Fantastic.   All right.

18 The time is 10:33.       Ms. Wallace Brown, would you please raise

19 your right hand.

20              Do you affirm under the penalty of perjury that you

21 are Margaret Wallace Brown and that the testimony you're about

22 to give is the truth, the whole truth, and nothign but the

23 truth?

24              THE WITNESS:    Yes.

25              THE COURT REPORTER:     All right.    Counsel, for the
     Case 4:20-cv-00145  Document 48-4 Filed on 06/21/22 in TXSD Page 3 of 12 Page 6
                     Margaret Brown May 11, 2022 NDT Assgn # 57297

1 record, would you please state your name and whom you

2 represent.

3               MS. MATIAS:    Dawna Matias, M-a-t-i-a-s, representing

4 plaintiff Anthony Barilla.

5               MR. AMIS:   Brian Amis, representing the City of

6 Houston.

7               THE COURT REPORTER:     All right.    You may proceed.

8 MARGARET WALLACE BROWN, having been first duly sworn, was

9 examined, and testified as follows:

10 EXAMINATION

11 BY MS. MATIAS:

12        Q     Good morning, Ms. Wallace Brown.

13         A    Good morning.

14        Q     My name is Dawna Matias, and I'm with colleagues

15 Anastasia Bowden and Joshua Polk, and we represent the

16 plaintiff Anthony Barilla in this case.

17              And, first, I'd like to go over just some preliminary

18 matters before we get started with more substantiate questions.

19 Okay?

20         A    Yes.

21        Q     Will you please state your name and spell it for the

22 record?

23         A    Margaret Wallace Brown, M-a-r-g-a-r-e-t, W-a-l-l-a-c-

24 e, B-r-o-won.

25        Q     Okay.   Thank you.    And are you familiar with this
     Case 4:20-cv-00145  Document 48-4 Filed on 06/21/22 in TXSD Page 4 of 12Page 14
                    Margaret Brown May 11, 2022 NDT Assgn # 57297

1         Q     Okay.   And can we agree to call that part of the

2 busking ordinance the permit requirement?

3         A     Yes.

4         Q     Okay.   Are you employed by the City of Houston,

5 defendant City of Houston?

6         A     Yes.

7         Q     In what department?

8         A     Planning and development department.

9         Q     Okay.   And what does planning and development -- what

10 does the planning and development department do, what are their

11 responsibilities?

12        A     Our responsibilities include managing the land

13 development ordinances for the city of Houston and our

14 extraterritorial jurisdiction, we manage the geographic

15 information system for the city of Houston, we do

16 transportation planning, neighborhood planning such as

17 character preservation tools, historic preservation, and we

18 manage the tower ordinance and a variety of other projects as

19 assigned by the mayor.

20        Q     Okay.   And what is your formal title or position?

21        A     I'm director of the department.

22        Q     Okay.   Can you describe your duties in this position?

23        A     I manage our team of approximately 90 people who the

24 -- to do all of the responsibilities that I mentioned earlier,

25 yeah, Lord knows --
     Case 4:20-cv-00145  Document 48-4 Filed on 06/21/22 in TXSD Page 5 of 12Page 15
                    Margaret Brown May 11, 2022 NDT Assgn # 57297

1         Q     Okay.

2          A    -- just what it is.     I mean, I manage the whole

3 operation so that includes, you know, day to day operations, as

4 well as speaking to city council and, you know, everything a

5 director does.

6         Q     Okay.   Any other duties?

7          A    As part of my duties, and I am secretary to both the

8 Planning Commission and the Historic and Archaeological

9 Commission -- well, actually, all three, The Tower Commission

10 also.

11        Q     Okay.   And how long have you held this position?

12        A     I was promoted interim director in 2018 and made

13 permanent director in 2019.

14        Q     Okay.   Did you hold any other position in the

15 department prior to this?

16        A     Yes, I've been with the city for 35 years all in this

17 department starting as a project manager in 1986 and having

18 progressively advanced jobs until I received this one.

19        Q     Okay.   And did you hold any other position in -- with

20 the city of Houston prior to your work in the planning

21 department -- planning and development?

22        A     So for a period of about six years -- six months in

23 1991, the department which used to include community

24 development, block current activities, when that was split from

25 the planning department I was temporarily -- so for a period of
     Case 4:20-cv-00145  Document 48-4 Filed on 06/21/22 in TXSD Page 6 of 12Page 16
                    Margaret Brown May 11, 2022 NDT Assgn # 57297

1 about six months I worked for the community development

2 department that was split off from planning, but then very

3 quickly came back to planning --

4         Q     Okay.   And what was your --

5         A     -- and nothing else besides that.

6         Q     Oh, okay.   Sorry.    I apologize, I talked over you.

7         A     That's okay.

8         Q     What was your job experience prior to employment with

9 the city of Houston?

10        A     I worked for a land developer here in Houston, Texas,

11 Intercorporation, I was the project architect for them for

12 interior remodels on one of their high rise residential towers.

13        Q     Okay.   Anything else?

14        A     While I was in school I had a variety of secretarial

15 and other clerical jobs, but, no, that was my first post-

16 college professional job.

17        Q     And can you please describe your educational

18 experience?

19        A     Bachelor of Science in -- with a concentration in

20 Architecture from the University of Houston, and I have

21 approximately 12 hours towards a Master's in Business

22 Administration from the University of St. Thomas, and I have a

23 variety of certifications from -- professional certifications

24 for my area of expertise.

25        Q     Okay.   Do you understand why you've been called to be
     Case 4:20-cv-00145  Document 48-4 Filed on 06/21/22 in TXSD Page 7 of 12Page 17
                    Margaret Brown May 11, 2022 NDT Assgn # 57297

1 deposed today?

2         A     Yes.

3         Q     Okay.     What is your understanding of that?

4         A     My understanding is that I am representing the city

5 of Houston as my position as director for the planning

6 department because some of this work originated from the

7 planning department.

8         Q     Okay.     I'd like to introduce, as I guess it would be,

9 Exhibit C the notice of rule 30B6 deposition of the city of

10 Houston.

11        A     Okay.

12        Q     Take a look at that, please.

13        A     Okay.

14        Q     Do you see it -- do you --

15        A     Yes.

16        Q     -- see on the -- pages 1 it's a three page document

17 and there are a list of numbered topics on those three pages --

18        A     Mm-hmm.

19        Q     Do you understand that you've been designated by your

20 council to answer questions about the following topics, and I'm

21 going to list them and after each you can say either yes or no

22 that you understand --

23        A     Okay.

24        Q     -- you've been designated.      So the first is number 3,

25 defendant's interpretation and application of the busking
     Case 4:20-cv-00145  Document 48-4 Filed on 06/21/22 in TXSD Page 8 of 12Page 35
                    Margaret Brown May 11, 2022 NDT Assgn # 57297

1 cleanliness, litter, that type of thing on that end of the

2 spectrum would be -- are something that the city cares deeply

3 about, we care about the way our streets look and whether

4 somebody's wearing a green outfit versus a red outfit doesn't

5 matter.

6         Q     Okay.     And do you think then that there is -- that

7 having buskers in the city of Houston somehow interferes with

8 an esthetic concern?

9         A     No, I'm not sure I would say that.

10        Q     Okay.     All right.   Is there something about the

11 theater district that is particularly well suited for avoiding

12 traffic and pedestrian safety issues?

13        A     That is particularly suited -- well, in the theater -

14 - so the part of the rationale in creating the theater district

15 was to create a very walkable area where Houstonians could, you

16 know, enjoy the theater, enjoy a dinner before the theater,

17 enjoy a very vibrant part of Houston.

18              I mean, we're trying to encourage a vibrancy in the

19 theater district, and I think that lends itself well to a

20 busker, but I also think that there -- that it highlights the

21 need to be cautious about the safety of pedestrians and

22 automobile traffic throughout that area.

23        Q     So if you were creating an area of vibrancy --

24        A     Mm-hmm.

25        Q     -- would that raise more concerns about pedestrian
     Case 4:20-cv-00145  Document 48-4 Filed on 06/21/22 in TXSD Page 9 of 12Page 57
                    Margaret Brown May 11, 2022 NDT Assgn # 57297

1 I have any evidence that -- documents that -- and the answer is

2 no, but I would say that it's the city of Houston's interest

3 to, you know, protect our property owners and provide service

4 to everyone and -- no.        I mean, I guess -- okay.      So ask the

5 question again.       I think I'm getting way off track --

6         Q     Okay.

7         A     -- looking for circles and there aren't any.

8         Q     Okay.

9         A     So just ask the question again.

10        Q     Okay.   Let me try again.     What evidence do you have

11 to support the idea that requiring a busker to obtain written

12 permission from an abutting property owner serves the interest

13 of protecting neighboring property owners from loud noises and

14 distractions?

15        A     No, I don't have any evidence that it does that.

16        Q     Okay.   Thank you.    And then on what basis do you make

17 the claim that there is an interest in protecting the effects

18 on neighboring properties and property owners?

19        A     I think this is a little bit longer answer than what

20 you want, but I do know that when -- so I work in an office

21 building and there are often times events in the streets around

22 me.    I'm adjacent to a couple city parks, and it can be very

23 disruptive to operations when there is this type of noise going

24 on constantly.

25              Luckily, I'm only close to it on periodic basis's,
     Case 4:20-cv-00145   Document 48-4 Filed on 06/21/22 in TXSD Page 10 of 12Page 58
                     Margaret Brown May 11, 2022 NDT Assgn # 57297

1 but if there were a busker who were in front of my office

2 everyday I think it could be disruptive to my operation, and I

3 think when the city of Houston and Central Houston initiated

4 this effort, you know, we were stepping into unknown, you know,

5 going into -- we didn't have -- we were stepping into the

6 unknown, we didn't know, you know, what would -- how many

7 hundreds of people might come out or not and so there was a

8 concern that if we do this we need to be more protective about

9 the adjacent property owners.

10               We need to have a consideration for them as well and

11 so it was, you know, an effort for the city to recognize that

12 there might be some challenges for property owners created by

13 this effort knowing how we dealt with it.

14         Q     Okay.   And would it be equally disruptive then if

15 there were just a loud street performer out there, but they

16 weren't asking for tips?

17         A     Well, probably yes.

18         Q     Is there a noise ordinance in place in the city of

19 Houston?

20         A     There is.

21         Q     Does it apply also to the theater district?

22         A     Yes.

23         Q     Okay.   Describe how requiring a busker to describe

24 their performance in advance serves the interest of traffic or

25 pedestrian safety?
     Case 4:20-cv-00145  Document 48-4 Filed on 06/21/22 in TXSD Page 11 of 12Page 70
                    Margaret Brown May 11, 2022 NDT Assgn # 57297

1                             IN THE UNITED STATES

2                           DISTRICT COURT FOR THE

3              SOUTHERN DISTRICT OF TEXAS (HOUSTON DIVISION)

4

5 ANTHONY BARILLA

6 VERSUS               CASE NO.: 4:20-CV-00145

7 CITY OF HOUSTON, TEXAS

8

9

10                          REPORTER'S CERTIFICATION

11                   DEPOSITION OF MARGARET WALLACE BROWN

12                                 MAY 11, 2022

13

14 I, ARIA MENDOZA, Court Reporter, hereby certify to the

15 following:

16 That the witness, MARGARET WALLACE BROWN, was duly sworn by the

17 officer and that the transcript of the oral deposition is a

18 true record of the testimony given by the witness;

19 That the deposition transcript was submitted on 26th day of May

20 2022, to the witness or to the attorney for the witness for

21 examination, signature and return to NAEGELI DEPOSITION AND

22 TRIAL by June 15, 2022;

23 That the amount of time used by each party at the deposition is

24 as follows:

25              Anastasia P. Boden, Esquire - 0 hr 00 min
     Case 4:20-cv-00145  Document 48-4 Filed on 06/21/22 in TXSD Page 12 of 12Page 71
                    Margaret Brown May 11, 2022 NDT Assgn # 57297

1               Joshua W. Polk, Esquire - 0 hr 00 min

2               Donna G. Matias, Esquire - 1 hr 32 min

3               Brian A. Amis, Esquire - 0 hr 00 min

4               Daniel Oliver, Esquire - 0 hr 00 min

5 That pursuant to information given to the deposition officer at

6 the time said testimony was taken, the following includes

7 counsel for all parties of record:

8

9               Anastasia P. Boden, Esquire - ATTORNEY FOR PLAINTIFF

10              Joshua W. Polk, Esquire - ATTORNEY FOR PLAINTIFF

11              Donna G. Matias, Esquire - ATTORNEY FOR PLAINTIFF

12              Brian A. Amis, Esquire - ATTORNEY FOR DEFENDANT

13              Daniel Oliver, Esquire - ATTORNEY FOR DEFENDANT

14         I further certify that I am neither counsel for, related

15 to, nor employed by any of the parties or attorneys in the

16 action in which this proceeding was taken, and further that I

17 am not financially or otherwise interested in the outcome of

18 the action.

19 Certified to by me this 26th day of May 2022.

20

21

22

23 ____________________________________

24 Aria Mendoza, No. 818

25
